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 1 William J. Freed (SB#144829)
   WILLIAM J. FREED, A Professional Corporation
 2 2772 Roosevelt Street #2562
   Carlsbad CA 92018
 3 Tel.: 760-691-0022
   Fax: 419-930-1500
 4
 5 In Pro Per
 6
 7
                                 UNITED STATES BANKRUPTCY COURT
 8
                                 SOUTHERN DISTRICT OF CALIFORNIA
 9
10
                                                       ) Case No.: 23-01962-MM7
11 In Re                                               )
                                                       ) Adversary Proc. No:
12 SAMUEL KELSALL, V
                                                       )
13               Debtor                                )
                                                       ) ADVERSARY COMPLAINT FOR DENIAL
14 WILLIAM J. FREED, APC, aka WILLIAM J.               ) OF DISCHARGE PURSUANT TO 11 U.S.C.
                                                       ) §727(a)(3) and (a)(4).
15 FREED                                               )
                                                       )
16               Plaintiff                             )
                                                       )
17 vs.                                                 )
                                                       )
18 SAMUEL KELSALL, V                                   )
19                                                     )
                 Defendant.
20
21
            William J. Freed, APC (hereinafter “Plaintiff”), allege as follows:
22
                                                  PARTIES
23
            1.       Plaintiff, William J. Freed, A Professional Corporation (“FREED CORP”) is the real
24
     creditor of the Defendant, who has been inaccurately identified therein as William J. Freed (an
25
     individual) in the underlying Chapter 7 bankruptcy Petition.
26
            2.       Defendant Samuel Kelsall V (“Defendant” or “Debtor”) is the debtor in the above
27
     captioned Chapter 7 bankruptcy case.
28
                                                     -1-
     ADVERSARY COMPLAINT – Kelsall                                                Case No.: 23-01962-MM7
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 1                                           JURISDICTION

 2          3.     This adversary proceeding is brought in connection with the underlying Chapter 7
 3 bankruptcy, Case No. 23-01962-MM7, which the Defendant filed on July 4, 2023 under Chapter 7

 4 of the Bankruptcy Code (11 U.S.C. §101, et seq.). This Court has jurisdiction pursuant to 28 U.S.C.
 5 §1334 and General Order No. 312-E [entered 11/27/2013] of the United States District Court for the
 6 Southern District of California. This is a core proceeding pursuant to 28 U.S.C. §157(b)(2)(I).
 7                                                VENUE
 8          4.     Venue for this action is proper pursuant to 28 U.S.C. §1409 in that it arises from or
 9 relates to the underlying bankruptcy case filed by the Defendant under Chapter 7 of the Bankruptcy
10 Code with the United States Bankruptcy Court for the Southern District of California.
11                                     GENERAL ALLEGATIONS
12          5.     William J. Freed, as an individual (“Freed”) is inaccurately named as a creditor of the
13 Debtor in the underlying bankruptcy case. The real creditor is William J. Freed’s professional law
14 corporation.
15          6.     Plaintiff, FREED CORP, is not specifically named as a creditor of Debtor in the
16 bankruptcy Petition. However, Debtor is attempting to discharge a promissory note executed by a
17 wholly owned corporation of Debtor, Kelsall Legal Solutions, PC, and personally guaranteed by
18 Debtor, in favor of FREED CORP (not William J. Freed, an individual). The Promissory Note which
19 serves as the underlying debt sought to be discharged, is described, but not attached, in Paragraph 72
20 of Debtor’s Cross Complaint filed in San Diego Superior Court Case No. 37-2020-00020986 as being
21 signed on October 1, 2018 by FREED CORP and Kelsall Legal Solutions PC.
22          7.     Creditor FREED CORP attached the Promissory Note between Kelsall Legal
23 Solutions, PC and FREED CORP, as well as the Debtor’s Personal Guarantee for payment of the
24 Promissory Note, as Exhibits in FREED CORP’S Cross-Cross Complaint filed in the Superior Court
25 case. The Promissory Note dated October 1, 2018 in the amount of $180,000.00 signed by Samuel
26 Kelsall V, as President of Kelsall Legal Solutions PC is attached hereto as Exhibit “A.” The Personal
27 Guaranty dated September 30, 2018, signed by Samuel Kelsall V is attached hereto as Exhibit “B.”
28          8.     Defendant Samuel Kelsall V, is the Debtor in the underlying Chapter 7 Bankruptcy,
                                                     -2-
     ADVERSARY COMPLAINT – Kelsall                                              Case No.: 23-01962-MM7
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 1 and at all relevant times was a citizen and resident of San Diego County, State of California. At all

 2 times mentioned herein, Samuel Kelsall V was a licensed practicing attorney in the State of California,
 3 who regularly appeared in both the Civil and Probate Courts, and the Bankruptcy Court in Southern

 4 California.
 5          9.      Freed’s relationship with Debtor began when Debtor approached Freed to purchase
 6 his law practice located at 815 Civic Center Drive, Oceanside, California, which was being
 7 marketed for sale. The negotiations for the purchase of Freed’s practice began sometime in early
 8 2018 and concluded on or about October 26, 2018. The law practice corporation being purchased
 9 was known as Walwick & Freed, which was a dba for FREED CORP established in 1993. The law
10 practice primarily consisted of past and present client files of both Freed and Robert Walwick
11 (deceased), relating to their respective practices consisting primarily of estate planning, wills, trusts,
12 trust administrations, probate administrations, guardianships and other files concerning other areas
13 of the law.
14          10.     In addition to Debtor purchasing Freed’s corporate law practice, Debtor offered to
15 purchase the building at 815 Civic Center Drive, Oceanside, California 92054 with a newly created
16 “business trust” named 815 Civic Center Drive LTD. The building was owned by Freed as an
17 individual.
18          11.     The transactions for the purchase of the law office building and the law practice were
19 handled independently. The escrow for the purchase of the law practice closed on October 26, 2018,
20 with FREED CORP carrying a $180,000 promissory note.
21          12.     The escrow for the office building purchase closed on October 18, 2018, with Freed
22 carrying a $220,000 promissory note, (later reduced to $200,000.00) and Debtor, individually and
23 also as the President and Managing Trustee of Civic Center Drive LTD, agreeing separately within
24 one year to sell the property to pay the note or personally guarantee the financial obligation.
25          13.     Ultimately, Plaintiff was forced to file suit for breach of the obligations concerning the
26 purchase of 815 Civic Center Drive. During pendency of that action, Debtor and/or his wholly
27 controlled entities, paid $174,188.46, which represented all remaining financial obligations for the
28 sale of the real property at 815 Civic Center Drive, leaving only the Promissory Note for the purchase
                                                       -3-
     ADVERSARY COMPLAINT – Kelsall                                                Case No.: 23-01962-MM7
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 1 of the practice remaining to be paid to Plaintiff.

 2                                      RELEVANT PROPERTIES
 3           14.   Debtor resides at 7531 Navigator Circle, Carlsbad, California (“7531 Navigator”) with

 4 his 2 minor children and the mother of those children, Michelle Kaiser.
 5           15.   The real property at 7531 Navigator Circle, Carlsbad, California was transferred to
 6 Debtor by Samuel Kelsall IV and Edna M. Kelsall (Debtor’s parents) on October 17, 2001 and the
 7 executed deed was electronically delivered to Debtor on or before August 4, 2004. (Copy of the Deed
 8 of Realty Transfer attached hereto as Exhibit “C”).
 9           16.   Samuel Kelsall V solely owns, operates, manages and controlls Kelsall & Associates
10 PC and Kelsall Law PC, which were operating as a law practice at 2921 Roosevelt Street, Carlsbad,
11 California and 25411 Cabot Road #114, Laguna Hills, California, at all times relevant herein.
12           17.   Title ownership of the office at 2921 Roosevelt Street, Carlsbad, California is a
13 business trust named “2921 Roosevelt LTD,” in which Debtor was and is the executive trustee,
14 exclusively responsible for managing, controlling and distributing the assets of that entity.
15           18.   At all times mentioned herein, Samuel Kelsall V owns, operates, manages, and
16 controls Kelsall Legal Solutions PC, which operates as a law practice at 815 Civic Center Drive,
17 Oceanside, California.
18           19.   Title ownership to the law office at 815 Civic Center Drive in Oceanside is in a
19 business trust named “815 Civic Center Drive LTD” in which Debtor is the named executive trustee
20 in the Business Trust agreement. Under oath Debtor denies he is the executive trustee. However,
21 Debtor has represented himself as the president and managing trustee in documents surrounding the
22 purchase of the law office building. Based on the irrevocable Trust documentation, Debtor and no
23 one else is exclusively responsible for managing, controlling and distributing the assets of that
24 entity.
25           20.   Plaintiff alleges that all times mentioned herein, 815 Civic Center LTD was the alter
26 ego of Debtor. Debtor dominated and controlled 815 Civic Center Drive LTD and commingled
27 assets with Debtor and corporate entities that Debtor exclusively controls, such that the separate
28 identity of 815 Civic Center Drive LTD no longer exists. Plaintiff further alleges that 815 Civic
                                                        -4-
     ADVERSARY COMPLAINT – Kelsall                                              Case No.: 23-01962-MM7
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 1 Center Drive LTD is and at all times was undercapitalized and was formed by Debtor as a business

 2 trust for the sole non-business purpose of holding title to the real property at 815 Civic Center
 3 Drive, Oceanside, California, to make it unavailable to the creditors of Debtor. 815 Civic Center

 4 Drive LTD is so controlled and dominated by Debtor that Debtor and 815 Civic Center Drive LTD
 5 function as a single economic unit, and that treating them as separate entities would result in an
 6 injustice.
 7          21.    Accordingly, it is requested that the business form of 815 Civic Center Drive LTD be
 8 disregarded and its assets included in Debtor’s Bankruptcy estate and held liable for the debts,
 9 obligations and liabilities of Debtor.
10          22.    Plaintiff alleges that all times mentioned herein, 2921 Roosevelt LTD was the alter
11 ego of Debtor. Debtor dominated and controlled 2921 Roosevelt LTD and commingled assets with
12 Debtor and corporate entities that Debtor exclusively controls such that the separate identity of 2921
13 Roosevelt LTD no longer exists. Plaintiff further alleges that 2921 Roosevelt LTD is and at all
14 times was undercapitalized and was formed by Debtor as a business trust for the sole non-business
15 purpose of holding the real property at 2921 Roosevelt Street, Carlsbad, California, to make it
16 unavailable to the creditors of Debtor. 2921 Roosevelt LTD is so controlled and dominated by
17 Debtor that the two function as a single economic unit, and that treating them as separate entities
18 would result in an injustice.
19          23.    Accordingly, it is requested that the business form of 2921 Roosevelt LTD be
20 disregarded and its assets included in Debtor’s Bankruptcy estate and held liable for the debts,
21 obligations and liabilities of Debtor.
22                                     FIRST CLAIM FOR RELIEF
23                                          11 U.S.C. §727(a)(3)
24                   Concealed or Failed to Keep or Preserve Recorded Information
25          24.    Plaintiff refers to and incorporates herein each and every allegation contained in
26 paragraphs 1 through 23, inclusive, of this adversary complaint as if set forth herein verbatim.
27          25.    Pursuant to 11 U.S.C. § 727(a)(3), a debtor may be denied a discharge if they have
28 concealed, destroyed, mutilated, or failed to keep or preserve books and records from which their
                                                     -5-
     ADVERSARY COMPLAINT – Kelsall                                              Case No.: 23-01962-MM7
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 1 financial condition and business transactions might be ascertained.

 2          26.    Plaintiff alleges that the Defendant Debtor has concealed, destroyed, or failed to
 3 maintain books and records that are necessary to determine the Debtor’s true financial condition and

 4 business transactions during the relevant period.
 5          27.    At all times relevant herein, Debtor was practicing law through 3 separate
 6 professional corporations. Debtor has testified under oath that income from these corporations
 7 serve as the sole source of his personal income. Debtor has further stated under oath that he only
 8 maintains one business bank account for Kelsall Legal Solutions PC, and that he transacts all of his
 9 other financial business and transactions in cash or with money orders and has little or no
10 substantiating documentation for any of those transactions.
11          28.    As the 100% owner of all three corporate law entities, Debtor has complete
12 discretion to pay no salary to himself, or pay any sum at all, including all of the corporate income he
13 receives from the corporate entities. Debtor has identified on his Schedules an average gross
14 monthly income of $7,226.77 (See Petition Form 122A-1, Part 1, Line 5). Nevertheless, Plaintiff
15 has not produced any recorded information such as books, invoices, records or other financial
16 papers to indicate the precise amount of gross income he receives from the three corporate entities,
17 whether he receives other income or distributions from other sources, and how much of the law
18 practice revenue was diverted and distributed to other areas and unreported in the Bankruptcy
19 Schedules.
20          29.      In addition, Debtor has identified in his Petition that he pays $5,000 (Petition, Form
21 106, Schedule J, Line 4) in rent on a residence where the legal title has been transferred to him.
22 Debtor has failed to produce any recorded papers or information to substantiate any payment
23 whatsoever, or any lease agreements, stating the rent was paid to his parents in cash at random
24 periodic times and amounts. Debtor stated he had no documentation for any of those alleged
25 payments.
26          30.    Debtor has also concealed and/or failed to keep and/or produce, financial books,
27 papers and records pertaining to rent allegedly paid to 815 Civic Center Drive LTD by Kelsall
28 Legal Solutions PC and/or Kelsall & Associates PC, and/or Kelsall Law PC, and/or Debtor himself.
                                                       -6-
     ADVERSARY COMPLAINT – Kelsall                                               Case No.: 23-01962-MM7
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 1 At all times relevant, Debtor had exclusive control of all financial dealings concerning 815 Civic

 2 Center Drive LTD and the 3 corporate law practice entities. Debtor invoked attorney-client
 3 privilege when asked about the recipient of the rent allegedly paid, or the trustee(s), shareholders or

 4 beneficiaries of the business trust.
 5           31.     Debtor has also concealed and/or failed to keep and/or produce, financial books,
 6 papers and records pertaining to rent allegedly paid to 2921 Roosevelt LTD by Kelsall Legal
 7 Solutions and/or Kelsall & Associates PC, and/or Kelsall Law PC, and/or Debtor himself. At all
 8 times relevant, Debtor had exclusive control of all financial dealings concerning 2921 Roosevelt
 9 LTD and the 3 corporate law practice entities.
10           32.     As alleged above, Debtor has unjustifiably concealed, destroyed, falsified, or failed
11 to keep or preserve recorded information from which the Debtor’s financial condition might be
12 ascertained, or business transactions directly affecting Debtor’s financial condition, might be
13 ascertained. Debtor, an attorney for over 30 years who practices and represents clients regularly in
14 Bankruptcy Court, is held to a higher level to be accountable for his record keeping. Debtor has
15 failed to provide records which sufficiently identify transactions to permit inquiry about Debtor’s
16 financial status in order to ascertain a complete and accurate picture of Debtor’s financial affairs,
17 including that of Debtor’s businesses.
18           33.     Pursuant to 11 U.S.C. § 727(a)(3), the Debtor’s discharge should be denied because
19 the Debtor has concealed, destroyed, or failed to maintain books and records that are necessary to
20 ascertain the Debtor’s true financial condition and business transactions. The Court is requested to
21 deny Debtor’s discharge pursuant to 11 U.S.C §727(a)(3).
22                                      SECOND CLAIM FOR RELIEF
23                                              11 U.S.C. §727(a)(4)
24                             Knowing and Fraudulent False Oath or Account
25           34.     Plaintiff refers to and incorporates herein each and every allegation contained in paragraphs 1

26 through 33, inclusive, of this adversary complaint as if set forth herein verbatim.
27           35.     Plaintiff alleges that the Debtor has violated 11 U.S.C. § 727(a)(4), which provides
28 that a debtor shall be denied a discharge under Chapter 7 of the Bankruptcy Code if the debtor
                                                          -7-
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 1 knowingly and fraudulently made a false oath or account in connection with the bankruptcy case.

 2 Plaintiff contends that Defendant Samuel Kelsall V knowingly and fraudulently made the following
 3 false statements, oaths, or accounts which materially related to the bankruptcy proceedings, with the

 4 intent to deceive the bankruptcy court, creditors, and the Trustee:
 5                 a.      On Schedule H, Question 1: Debtor denies under oath there are any co-debtors.
 6          The debt identified on Schedule E/F for $200,000 claimed by William Freed, is based on a
 7          promissory note signed by William J. Freed, as President of FREED CORP and by Samuel
 8          Kelsall as President of Kelsall Legal Solutions PC. Kelsall Legal Solutions PC is a co-debtor
 9          on the listed debt. Debtor’s personal obligation for this debt is based on a signed Personal
10          Guaranty agreement executed by both Debtor in his individual capacity, and as President of
11          Kelsall Legal Solutions. (See the Promissory Note attached hereto as Exhibit “A”, and the
12          Personal Guaranty, attached hereto as Exhibit “B”).
13                 b.      On Schedule A/B, Part 1: Debtor denies owning or having any legal or
14          equitable interest in any residence, building, land, or similar property.
15          Debtor is the title owner to the real property residence at 7531 Navigator Circle, Carlsbad,
16          California, where he has resided since approximately 1997. (Deed of Realty Transfer to
17          Samuel Kelsall V by Samuel Kelsall IV and Edna M. Kelsall on October 17, 2001.
18                 c.      On Schedule A/B, Part 6, Question 16a: Debtor describes the debts primarily
19          as consumer debts rather than primarily business debts.
20          The Petition describes $470,090 in debts out of a total of $477,864 that are debts that appear
21          to be expenses incurred for the practice of law and not for a personal, family or household
22          purpose. The debts are primarily business and not personal.
23                 d.      On Schedule A/B, Part 6, Question 19: Debtor identifies his assets as worth
24          between $500,000 and $1,000,000.
25          Debtor fails to include the values of the residence at 7531 Navigator Circle, Carlsbad,
26          California, the law office at 815 Civic Center Drive, Oceanside, California and the law office
27          at 2921 Roosevelt Street, Carlsbad, California, which total by themselves an estimated value
28          of over $3.7 million dollars.
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 1                 e.      On Schedule J, Part 1, Question 3: Debtor states the expenses identified in the

 2          Petition do not include anyone other than himself and his dependents.
 3          Debtor lives at 7531 Navigator Circle, Carlsbad, California with Michelle Kaiser, the mother

 4          of his children. She is described on the internet as having lived at 7531 Navigator Circle for
 5          13 years. Her personal vehicle is parked at that residence at night and in the morning. An
 6          internet search on skip tracing software identifies the Navigator address as her current
 7          residence. During Debtor’s Chapter 13 filing in 2019, Debtor claimed to be living with his 2
 8          children in his law office building at 2921 Roosevelt Street, Carlsbad, CA. Aware of Debtor’s
 9          true residence on Navigator Circle, and that she lives with Debtor and functions as his
10          bookkeeper, significant evidence was gathered to establish Debtor’s false statements made
11          under oath both on the Petition and Schedules, and during sworn testimony at the 341A
12          meeting of creditors examination. During that process, Michelle Kaiser was observed coming
13          and going into the Navigator residence, unloading groceries, and taking Debtor’s children to
14          school and bringing them back from school. It is an intentional falsehood that Michelle Kaiser
15          does not live with her children at the 7531 Navigator Circle property, and Debtor’s
16          intentionally false statement to the contrary is intentionally misleading in an attempt to avoid
17          further scrutiny into Ms. Kaiser’s financial involvement with Debtor’s businesses and her
18          knowledge and participation in paying for expenses and the distribution of business and other
19          income.
20          36.    Pursuant to 11 USC 727(a)(4), the Plaintiff alleges that the Debtor, in connection with
21 the bankruptcy case referenced above, knowingly and fraudulently made a false oath or account with
22 intent to deceive the court or hinder the administration of the bankruptcy estate. Plaintiff further
23 alleges that the Debtor’s false oath or account was material to the bankruptcy proceedings and
24 adversely affected the administration of the estate.
25          37.    As a result of the Debtor’s actions, the Plaintiff seeks relief under 11 USC 727(a)(4)
26 and requests that this Court enter an order denying the Debtor’s discharge in bankruptcy.
27 ///
28 ///
                                                      -9-
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 1          WHEREFORE, the Plaintiff, prays for judgment as follows:

 2       1. For a judgment and determination that the business trust known as 815 Civic Center Drive

 3          LTD is the alter ego of Debtor Samuel Kelsall V and shall be included in Debtor’s Bankruptcy

 4          estate;

 5       2. For a judgment and determination that the business trust known as 2921 Roosevelt LTD is the

 6          alter ego of Debtor Samuel Kelsall V and shall be included in Debtor’s Bankruptcy estate;

 7       3. For a judgment and determination that the Debtor owns a legal or equitable interest in the real

 8          property at 7531 Navigator Circle, Carlsbad, California, and such interest shall be included in

 9          Debtor’s Bankruptcy estate.

10       4. For a judgment and determination that Debtor has unjustifiably concealed or failed to keep

11          recorded information from which Debtor’s financial condition or business transactions might

12          be ascertained as set forth in 11 U.S.C. §727(a)(3);

13       5. For a judgment and determination that the Debtor knowingly and fraudulently made false

14          oaths or accounts in connection with the bankruptcy case as set forth in 11U.S.C. §727(a)(4);

15       6. For a judgment that Debtor’s Chapter 7 Petition requesting discharge of his debts be denied

16          entirely and that the case be dismissed with prejudice;

17       7. For attorney’s fees and costs incurred herein; and

18       8. For such other and further relief as this court deems just and proper.

19 ///

20 Dated:     October 10, 2023                         /s/     William J. Freed

21                                                WILLIAM J. FREED, ESQ.

22                                                Plaintiff for William J. Freed, APC

23

24

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28
                                                      - 10 -
     ADVERSARY COMPLAINT – Kelsall                                                  Case No.: 23-01962-MM7
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                   EXHIBIT A




                   EXHIBIT A
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                                      PROMISSORY NOTE


$180,000.00                                                                          October 1, 2018
                                      815 Civic Center Drive
                                       Oceanside, California

        1.       TERMS.          FOR VALOE RECEIVED, and other good and valuable
consideration, the undersigned KELSALL LEGAL SOLUTIONS, PC ("Borrower"),
unconditionally promise to pay and deliver to WILLIAM J. FREED, a Professional
Corporation ("Payee"), or holder ("Holder''), at 3229 Valley Street, Carlsbad, California, or any
other address designated in writing by Payee, the unpaid principal balance of ONE HUNDRED
EIGHTY mOUSAND DOLLARS ($180,000.00), together with interest at the rate of Five
percent (5.00%) per annum on this promissory note ("Note"), from October 1, 2018 on the unpaid
principal, until all said principal and interest amounts are paid in full.

2.       PAYMENT CREDITING. The principal sum of$180,000.00 with interest at the rate of
Five percent (5.00%) per annum shall be paid in equal monthly installments of$4,000.00 on the
first day of each and every month beginning on January 1, 2019, and continuing thereafter monthly
until paid in full. The first payment on January 1, 2019, shall be $4,000.00. Thereafter the monthly
payment of $4,000.00 is conditioned upon the office of Kelsall Legal Solutions located at 815
Civic Center Drive, Oceanside, California (the "Firm"), having gross receipts of $16,000.00 per
month, calculated on an average running gross annual income to date, starting January 1, 2019. If
the average monthly gross income is less than $16,000.00, Borrower is only obligated to pay 20%
of its average gross income for so long as the monthly average income is less than $16,000.00. It
shall be the obligation and condition that the Firm have sufficient attorney(s) and staff to service
the clients of the Firm. The gross income shall be determined from existing clients purchased from
Payee and new clients acquired by Firm attorneys. No gross income shall be transferred to other
legal operations prior to calculation of the rent. All principal and interest shall be payable, by cash
or check, in lawful money of the United States of America. All payments shall be first credited to
accrued interest which is payable on the balance of the principal, and the remainder, to principal.
Interest shall cease when all principal is paid in full.

3.             ACCELERATION AND DEFAULT.                   Notwithstanding the foregoing, any
unpaid principal amount and any accrued but unpaid interest shall immediately become due and
accelerated and payable in full at the earliest of either:

                a The death of the Borrower, or

                b. The date on which the Law Practice (formerly known as Walwick & Freed) is
sold, transferred, or otherwise conveyed; or

               c. The date of any default by Borrower of its obligations pursuant to this Note. A
default on this Note, for purposes of this section, shall occur when any payment due under this
                                            EXHIBITC



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Note has not been received by Holder within 10 days of written notice mailed or delivered to
Borrower at the address set forth in Paragraph 7 below.

        4.      ATIORNEY'S FEES.               Should the Holder utilize the services of any attorney
to assist in the collection of this Note or any amount owing hereunder (whether or not legal
proceedings are commenced), or seek legal advice following a default under this Note, or if any
judicial or non-judicial action is instituted by Payee or Holder, or by any person regarding this
Note, the undersigned agrees to hold Holder harmless and also to pay Holder's attorney's fees and
all costs incurred.

5.            SUCCESSORS AND ASSIGNS. This Note and all of the covenants, promises,
and agreements contained in it shall be binding on and inure to the benefit of the respective legal
and personal representatives, devisees, heirs, successors, and assigns of the Borrower and the
Holder.

6.              MANNER OF NOTIFICATION. Any notice to Borrower provided for in this
Note shall be given by personal delivery or by mailing such notice by first class or certified mail
addressed to the Borrower at the property address stated below, or to such other address as
Borrower may designate by written notice to the Holder. Any notice to the Holder shall be given
by personal delivery or by mailing such notice by first class or certified mail to the Holder at the
address stated in the Paragraph 1 of this Note, or at such other address as may have been designated
by written notice to Borrower. Mailed notices shall be deemed delivered and received 2 days after
deposit indicated by postmark, in accordance with this provision in the United States postal system.

                                               BORROWER:               Kelsall Legal Solutions, PC
                                                                       Attn: Samuel KelsaJI
                                                                       815 Civic Center Drive
                                                                       Oceanside, CA 92054

7.             GOVERNING LAW.                 This Note shall be construed and enforceable
according to the laws of the State of California for all purposes.


8.              SEVERABILITY. Every provision of this Note is intended to be severable. In
the event any term or provision hereof is declared to be illegal or invalid for any reason whatsoever
by a court of competent jurisdiction, such illegality or invalidity shall not affect the balance of the
terms and provisions, which terms and provisions shall remain binding and enforceable.

                                                       BORROWER:
                                                        ELS L LEGAL SOLUTIONS, PC




                                                               President



                                                2
                                            EXHIBITC
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                       LAW PRACTICEPURCHASEPROMISSORYNOTE Dated 10-1-18
   DATE-                     PROMISSORY PROMISSORY
  STATRTDATE-END       DAYS NOTEINTEREST NOTEPRINCPAL             INTEREST        PAYMENT       BALANa

LAWPRACTICE
          PBQMISSORfNOTE
  10/1/18   12/31/18    91         5%          $180,000.00        $2,243.84                    $182,243.84
   1/1/19    1/31/19    30         5%          $182,243.84         $748.95         $4,000.00   $178,992.78
   2/1/19    2/28/19    27         5%          $178,992.78         $662.03         $4,000.00   $175,654.81
   3/1/19    3/31/19    30         5%          $175,654.81         $721.87         $4,000.00   $172,376.68
   4/1/19    4/30/19    29         5%          $172,376.68         $684.78         $4,000.00   $169,061.46
   5/1/19    5/31/19    30         5%          $169,061.46         $694.77         $4,000.00   $165,756.24
   6/1/19    6/30/19    29         5%          $165,756.24         $658.48         $4,000.00   $162,414.72
   7/1/19    7/31/19    30         596         $162,414.72         $667.46         $4,000.00   $159,082.18
   8/1/19    8/31/19    30         5%          $159,082.18         $653.76         $4,000.00   $155,735.94
   9/1/19    9/30/19    29         5%          $155,735.94         $618.68         $4,000.00   $152,354.62
  10/1/19   10/31/19    30         596         $152,354.62         $626.11         $4,000.00   $148,980.73
  11/1/19   11/30/19    29         5%          $148,980.73         $591.84         $4,000.00   $145,572.57
  12/1/19   12/31/19    30         5%          $145,572.57         $598.24        $4,000.00    $142,170.82
                                                                  $9,572.57       $48,000.00
   1/1/20    1/31/20   30          5%          $145,572.57         $598.24         $4,000.00   $142,170.82
   2/1/20    2/29/20   28          5%          $142,170.82         $545.31         $4,000.00   $138,716.13
   3/1/20    3/31/20   30          5%          $138,716.13         $570.07         $4,000.00   $135,286.20
   4/1/20    4/30/20   29          5%          $135,286.20         $537.44         $4,000.00   $131,823.64
   5/1/20    5/31/20   30          5%          $131,823.64         $541.74         $4,000.00   $128,365.38
   6/1/20    6/30/20   29          5%          $128,365.38         $509.94         $4,000.00   $124,875.32
   7/1/20    7/31/20   30          5%          $124,875.32         $513.19         $4,000.00   $121,388.51
   8/1/20    8/31/20   30          5%          $121,388.51         $498.86         $4,000.00   $117,887.36
   9/1/20    9/30/20   29          5%          $117,887.36         $468.32         $4,000.00   $114,355.68
  10/1/20   10/31/20   30          5%          $114,355.68         $469.95         $4,000.00   $110,825.64
  11/1/20   11/30/20   29          5%          $110,825.64         $440.27         $4,000.00   $107,265.90
  12/1/20   12/31/20   30          596         $107,265.90         $440.82         $4,000.00   $103,706.72
                                                                  $6,134.15       $48,000.00
   1/1/21    1/31/21   30          596         $103,706.72         $426.19         $4,000.00   $100,132.92
   2/1/21    2/28/21   27          5%          $100,132.92         $370.35         $4,000.00    $96,503.27


                                                ATTACHMENTA
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                     LAW PRACTICEPURCHASEPROMISSORYNOTE Dated 10-1-18

 3/1/21    3/31/21    30          5%         $96,503.27          $396.59         $4,000.00    $92,899.86
 4/1/21    4/30/21    29          5%         $92,899.86          $369.05         $4,000.00    $89,268.91
 5/1/21    5/31/21    30          5%         $89,268.91          $366.86         $4,000.00    $85,635.77
 6/1/21    6/30/21    29          5%         $85,635.77          $340.20         $4,000.00    $81,975.97
 7/1/21    7/31/21    30          5%         $81,975.97          $336.89         $4,000.00    $78,312.86
 8/1/21    8/31/21    30          5%         $78,312.86          $321.83         $4,000.00    $74,634.69
 9/1/21    9/30/21    29          5%         $74,634.69          $296.49         $4,000.00    $70,931.18
10/1/21   10/31/21    30          5%         $70,931.18          $291.50         $4,000.00    $67,222.68
11/1/21   11/30/21    29          5%         $67,222.68          $267.05         $4,000.00    $63,489.73
12/1/21   12/31/21    30          5%         $63,489.73          $260.92         $4,000.00    $59,750.65
                                                                $4,043.92       $48,000.00

 1/1/21    1/31/21    30          5%         $59,750.65          $245.55        $4,000.00     $55,996.20
 2/1/21    2/28/21    27          5%         $55,996.20          $207.11        $4,000.00     $52,203.31
 3/1/21    3/31/21    30          5%         $52,203.31          $214.53        $4,000.00     $48,417.84
 4/1/21    4/30/21    29          5%         $48,417.84          $192.34        $4,000.00     $44,610.19
 5/1/21    5/31/21    30          5%         $44,610.19          $183.33        $4,000.00     $40,793.52
 6/1/21    6/30/21    29          5%         $40,793.52          $162.06        $4,000.00     $36,955.57
 7/1/21    7/31/21    30          5%         $36,955.57          $151.87        $4,000.00     $33,107.44
 8/1/21    8/31/21    30          5%         $33,107.44          $136.06        $4,000.00     $29,243.50
 9/1/21    9/30/21    29          5%         $29,243.50          $116.17        $4,000.00     $25,359.68
10/1/21   10/31/21    30          5%         $25,359.68          $104.22        $4,000.00     $21,463.89
11/1/21   11/30/21    29          5%         $21,463.89           $85.27        $4,000.00     $17,549.16
12/1/21   12/31/21    30          5%         $17,549.16           $72.12        $4,000.00     $13,621.28
                                                                $1,870.63       $48,000.00

 1/1/22   1/31/22     30          5%         $13,621.28          $55.98         $4,000.00      $9,677.26
 2/1/22   2/28/22     27          5%          $9,677.26          $35.79          $4,000.00     $5,713.05
 3/1/22   3/31/22     30          5%          $5,713.05          $23.48          $4,000.00     $1,736.53
 4/1/22   4/30/22     29          5%          $1,736.53           $6.90          $1,743.43       $0.00
          5/30/22    44711                      $0.00            $122.15        $13,743.43    -$13,621.28

                                          TOTALS               $21,743.43       $205,743.43


                                              ATTACHMENTA
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                   EXHIBIT B




                   EXHIBIT B
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                               PERSONAL GUARANTY

 I, SAMUEL KELSALL V, a shareholder of KELSALL LEGAL SOLUTIONS, PC. in
 consideration of KELSALL LEGAL SOLUTIONS PC. 's executing a promissory note in
 the principal sum of $180,000.00 dated October l, 2018 by which K.ELSALL LEGAL
 SOLUTIONS, PC is obligated to make regular payments for the purchase of the client files
 and records, and the assets and good will of the Law Practice belonging to WILLIAM J.
 FREED, personally guarantees to WlLLIAM J. FREED all payments, up to and including
 all principal and interest to be made by KELSALL LEGAL SOLUTIONS, PC under the
 promissory note. The amount of the payments are set forth in the Promissory Note
 provided concurrently with the execution of this Guaranty.

  I agree to pay on demand any sum that may become due under the terms of the promissory
 note to WILLIAM J. FREED whenever and if ever KELSALL LEGAL SOLUTIONS, PC
 fails to make timely payment. I acknowledge that a 30-day delinquent payment could cause
 the entire remaining principal and interest of the promissory note to become due and
 payable. It is understood that this guaranty shall be a continuing, irrevocable guaranty and
 indemnity for any indebtedness of KELSALL LEGAL SOLUTIONS, PC under the
 promissory note. I agree that any notice provided to KELSALL LEGAL SOLUTIONS,
 PC as required by the note shall be deemed to have been provided to me personally. I
 further agree that my personal consent shall be required for any modification of the note
 and that any waiver or modification in terms will not cancel or alter this guaranty in any
 way. The other terms, conditions and remedies set forth in the promissory note are
 incorporated herein by this reference.

 Executed onU&:c)              , 2018.
               /

                                                   AMUEL KELSALL V
Case 23-90064-MM   Filed 10/10/23   Entered 10/10/23 10:31:03   Doc 1   Pg. 18 of 20




              EXHIBIT C




              EXHIBIT C
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             ··' When ~orded, manto:
                SamuelKelsaUIV
                Attorneyat Law
                1118 e.Mit;souii. Suite a..
                                          2
                Phoenix,AZ. 85014
                602-234-..1999



                                                            OEEO-OF:
                                                                  R·EAlW TRA~SFER

                KNOWALLMEN SYTHESEPRESENTS:
                        Thatwe,SAMUEL    KE.LSALL   fV ~d EDNAM. KElSAU.•·theundetsigned     Transferors. do by these
                presents.herebya~gn, tra~fet ~rtd setcvt;;runtoSAMUEL     KaSALL 'V,aHof our rights, titleand interest
                In and 10unto that eertatnproperty situated in SanOieg.o County. State of_CaU!ornia,and described as
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                           E>tempt
                                per:A.R.S.§ 42--1614(8).(8).




                           TheGrantorsas.s.ert
                                            Utletolhe aforesatdpropertypur~uantto an Instrumentof Conveyancedated
                            . : .. .. and ~rded in the OfficialLand Recordsof San Diego-County.State of California,
                in (Docket)______                   .




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                                                              ExhibitA



         "Lot71 of CariSbadTract No. 85-·14,PhaseI (Baiiqu~ LagoonEducationPark)1in the City
         of Caiisbad, ·Countyof San Otego.State of C~UfomialAccording to Map thereof No.
         11616...F~..ed1n·the Office .ofthe County Re~rder of San Oieg:oCountyl September12t
         1986.




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